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       3Jn tbe Wniteb ~tates ~ourt of jfeberal ~laims
                                     No. 15-935C
                                (Filed June 17, 2016)
                              NOT FOR PUBLICATION
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                        *                                          U.S. COURT OF
JASON WAYNE NAILLIEUX,                                            FEDERAL CLAIMS
                        *
                        *
             Plaintiff, *
         v.             *
                        *
THE UNITED STATES,      *
                        *
             Defendant. *
                        *
************************
                                        ORDER

        On August 25, 2015, plaintiff filed a complaint in our court, naming the Los
Angeles County Police and Sheriffs Departments as defendants. Since the United
States is the only proper defendant in complaints filed in our court, see Rule lO(a) of
the Rules of the United States Court of Federal Claims (RCFC), the case has been
captioned as against the United States. In a complaint spanning some 29 pages of
difficult to decipher prose, plaintiff does not clearly (or even vaguely) allege any
claim against the United States. While the complaint states numerous times that
plaintiff is a "protected child victim by order [of] the Chief Justice," Compl. at 2, the
meaning of this phrase escapes the Court. A substantial part of the complaint
appears to be a narrative detailing various wrongs that plaintiff has either
witnessed or suffered --- it is often not clear which. These purported events both
appear not to concern the conduct of the United States and are frivolous . For
example, the complaint alleges that the President of the United States "picked my
suit and called my person," id. at 4; that the sheriff, presumably of Los Angeles
County, "murdered the Chief Justice of the United S[t]ates Supreme Court twice,"
id. at 5; and that there has been a "mass killing of child[ren]" presumably by that
same police department, id. at 12. The other parts of the complaint, to the extent
they are decipherable, seem to consist of references to a "legal writing" and plaintiff
being a "notary and recorder." Id. at 2. The relevance of these references are lost
on the Court.

       The government has moved to dismiss plaintiffs complaint, under RCFC
12(b)(l), for lack of subject-matter jurisdiction. Defendant contends, quiet
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reasonably given the contents of the complaint, that plaintiff has failed to allege any
claim within our subject-matter jurisdiction. Def.'s Mot. to Dismiss. Not counting
the complaint, plaintiff has submitted five separate documents which we have
assumed, due regard being given to plaintiffs prose status, to be addressing the
substance of his claim. These five documents, totaling 49 pages, shed no light on
the nature of Mr. Naillieux's claim, as they also consist oflargely indecipherable
prose. Those limited parts of these documents whose meaning can be somewhat
understood, such as Mr. Naillieux's claims that he "started my suit withDin the
education department well [sic] in elementary school," ECF No 7. at 5; that he was
"given a millitery [sic] from the powers of [C]ongress," id. at 8; and that there has
been an "actual attempted assassination of the [P]resident of the [U]nited States"
five times since he filed his complaint, ECF No. 14 at 6, fail to shed any light on the
nature of any claim against the United States. In sum, at no point in his assorted
filings does plaintiff assert any claim against the United States. As noted above,
the only proper defendant in complaints filed in our court is the United States, see
also Capelouto v. United States, 99 Fed. Cl. 682, 688 (2011); 28 U.S.C. § 1491, and
thus plaintiffs complaint must be dismissed. For the foregoing reasons, the
defendant's motion is GRANTED and the Clerk is directed to close the case.

       As the Court has been very indulgent in allowing plaintiffs unusual
documents to be filed as status reports, the same treatment will be afforded the two
most recent submissions, received on May 26, 2016, and June 6, 2016. Although
these two documents are no more illuminating of the nature of plaintiffs claim than
the previous ones, for the purpose of assembling a complete record, the Clerk is
directed to file them as status reports.


IT IS SO ORDERED.




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